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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                            )   CASE NO.:    1:11-cr-00174-AWI
11   UNITED STATES OF AMERICA,              )
                                            )
12                    Plaintiff,            )
                                            )   STIPULATION AND PROTECTIVE
13                                          )   ORDER BETWEEN THE UNITED
                v.                          )   STATES AND DEFENDANT JAIRO
14                                          )   FERNANDEZ
                                            )
15   JORGE PALENZUELA,                      )
     JAIRO FERNANDEZ, and                   )
16   YURI PEREZ MACHADO                     )
                                            )
17                    Defendants.           )
                                            )
18
19         WHEREAS, the discovery in this case is voluminous and contains a
20   large amount of personal and confidential information including but not
21   limited to Tax information, Social Security numbers, dates of birth,
22   bank and credit card account numbers, telephone numbers, and residential
23   addresses (“Protected Information”); and
24         WHEREAS, the parties desire to avoid both the necessity of large
25   scale redactions and the unauthorized disclosure or dissemination of
26   this information to anyone not a party to the court proceedings in this
27   matter;
28   ///
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 1        The parties agree that entry of a stipulated protective order is
 2   appropriate.
 3        THEREFORE, Defendant JAIRO FERNANDEZ, by and through his counsel
 4   of record (“Defense Counsel”), and the United States of America, by and
 5   through Assistant United States Attorney Henry Z. Carbajal III, hereby
 6   agree and stipulate as follows:
 7        1.     This Court may enter a protective order pursuant to Rule 16(d)
 8   of the Federal Rules of Criminal Procedure, and its general supervisory
 9   authority.
10        2.     This Order pertains to all discovery provided to or made
11   available    to   Defense   Counsel   as   part   of   discovery   in   this   case
12   (hereafter, collectively known as “the discovery”).
13        3.     By signing this Stipulation and Protective Order, Defense
14   Counsel agrees not to share any documents that contain Protected
15   Information with anyone other than Defense Counsel attorneys, designated
16   defense investigators, and support staff.          Defense Counsel may permit
17   the Defendant to view unredacted documents in the presence of his
18   attorney, defense investigators, and support staff.           The parties agree
19   that Defense Counsel, defense investigators, and support staff shall not
20   allow the Defendant to copy Protected Information contained in the
21   discovery.        The   parties   agree    that    Defense   Counsel,     defense
22   investigators, and support staff may provide the Defendant with copies
23   of documents from which Protected Information has been redacted.
24        4.     The discovery and information therein may be used only in
25   connection with the litigation of this case and for no other purpose.
26   The discovery is now and will forever remain the property of the United
27   States of America (“Government”).           Defense Counsel will return the
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 1   discovery to the Government or certify that it has been shredded at the
 2   conclusion of the case.
 3        5.   Defense Counsel will store the discovery in a secure place and
 4   will use reasonable care to ensure that it is not disclosed to third
 5   persons in violation of this agreement.
 6        6.   Defense    Counsel   shall   be     responsible   for   advising   his
 7   Defendant, employees, and other members of the defense team, and defense
 8   witnesses of the contents of this Stipulation and Order.
 9        7.   In the event that Defendant substitutes counsel, undersigned
10   Defense Counsel agrees to withhold discovery from new counsel unless and
11   until substituted counsel agrees also to be bound by this Order.
12        IT IS SO STIPULATED.
13
14   DATED: May 27, 2011                        By: /s/ Jeremy S. Kroger
                                                Jeremy S. Kroger
15                                              Attorney for Defendant
                                                JAIRO FERNANDEZ
16
17
     DATED: May 27, 2011                        BENJAMIN B. WAGNER
18                                              United States Attorney
19
                                        By: /s/ Henry Z. Carbajal, III
20                                          HENRY Z. CARBAJAL III
                                            Assistant U.S. Attorney
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22
23                                       ORDER
24   IT IS SO ORDERED.
25
     Dated:       May 31, 2011
26   0m8i78                            CHIEF UNITED STATES DISTRICT JUDGE
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